Case 1:16-cv-01696-LKG Document16 Filed 06/02/17 Page 1of1

In the Aited States Court of Federal Clauns

 

 

FILED
DAVID EUGENE BRINKLEY, III ) JUN — 2 2017
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Plaintiff, ) c RT OF
) No. 16-1696C EDERAL CLAIMS
v. )
) Filed: June 2, 2017
THE UNITED STATES, )
)
Defendant. )
)
ORDER

On May 1, 2017, the Court ordered plaintiff to pay the Court’s $400 filing fee by May 31,
2017, pursuant to 28 U.S.C. § 1915(g). See Mem. Opinion and Order, May 1, 2017. Plaintiff
has not paid the Court’s filing fee. And so, the Court dismisses this matter pursuant to Rule

41(b) of the Rules of the United States Court of Federal Claims and 28 U.S.C. § 191 5(g).
In view of the foregoing, the Court:
1. Directs the Clerk to DISMISS the complaint and enter judgment accordingly;
2. DENIES as moot plaintiffs motion to proceed in forma pauperis; and
3, DENIES as moot the government’s motion to dismiss.

IT IS SO ORDERED.

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— “LYDIA? AY GRIGGSBY 22)
Judge
